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              NOTE: This order is nonprecedential.


       United States Court of Appeals
           for the Federal Circuit
                    ______________________

                  ERIKA BAILEY-JOHNSON,
                      Plaintiff-Appellant

                               v.

                      UNITED STATES,
                      Defendant-Appellee
                    ______________________

                          2021-2351
                    ______________________

        Appeal from the United States Court of Federal Claims
    in No. 1:02-cv-01078-VJW, Senior Judge Victor J. Wolski.
                     ______________________

                        ON MOTION
                    ______________________

          Before DYK, REYNA, and CHEN, Circuit Judges.
    PER CURIAM.
                           ORDER
        Conceding the outcome of her case is controlled by
    United States v. Tohono O’Odham Nation, 563 U.S. 307
    (2011), Erika Bailey-Johnson moves unopposed for sum-
    mary affirmance of the United States Court of Federal
    Claims’ judgment, so that she can petition the Supreme
Case 1:02-cv-01078-VJW Document 176 Filed 11/23/21 Page 2 of 2




    2                                        BAILEY-JOHNSON   v. US



    Court of the United States to reevaluate its holding in
    Tohono O’Odham Nation.
          Upon consideration thereof,
          IT IS ORDERED THAT:
       (1) The motion is granted to the extent that the judg-
    ment of the Court of Federal Claims is affirmed.
          (2) Each side to bear its own costs.
                                        FOR THE COURT

            November 23, 2021           /s/ Peter R. Marksteiner
                 Date                   Peter R. Marksteiner
                                        Clerk of Court

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